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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND
                                  Greenbelt Division

In re:                              )
                                    )
SPENCER PARKER                      )                        Case No. 10-35985
                                    )                        Chapter 7
      Debtor                        )
 ___________________________________)

EXPEDITED MOTION TO CONTINUE HEARING SCHEDULED FOR MARCH 6, 2018

         Eric Hatcher, Daneen Hatcher and Stacey Brown (collectively, “Respondents”) by counsel

sumbit this expedited motion to continue hearing scheduled for March 6, 2018 at 10:00 a.m. on

the Debtor’s motion’s for sanctions and the Respondent’s oppostion thereto. In further support of

their Motion, Respondents state as follows:

         1.      The Court scheduled a hearing on the Debtor’s Motion for Sanctions for violations

of the discharge injunction made applicable by 11 U.S.C. § 524 of the United States Bankruptcy

Code for March 6, 2018 at 10:00 a.m.

         2.      Counsel had to leave Maryland on an emergency basis on March 1, 2018 to attend

to his mother who is seriously ill with pneumonia. Counsel will be out of State through March 12,

2018.

         3.      Counsel to the debtor, William C. Johnson, Esq. graciously consented (by email) to

a continuance.

         WHEREFORE, Respondents respectfully request a continuance of the hearing scheduled

for March 6, 2018 and for such other relief as to the Court may seem just and proper.
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Respectfully submitted.

/s/Morgan W. Fisher
Morgan W. Fisher #28711

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                                CERTIFICATE OF SERVICE

      I hereby certify that on March 2, 2018, a copy of the foregoing Motion was served, via the

Court’s CM/ECF system on the following:

William C. Johnson wcjjatty@yahoo.com, wjohnson@dcmdconsumerlaw.com
(Counsel for the Debtor)

Merrill Cohen trustee@cohenbaldinger.com, mcohen@ecf.epiqsystems.com
(Chapter 7 Trustee)

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                                                     /s/ Morgan W. Fisher
                                                     Morgan W. Fisher
